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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES HOUSE OF
REPRESENTATIVES,

                               Plaintiff,

       v.                                                   No. 19-cv-00969 (TNM)

JANET L. YELLEN, in her official capacity as
Secretary of the Treasury, et al.,

                               Defendants.




                                     JOINT STATUS REPORT

       In accordance with the Court’s Order of June 15, 2021, Plaintiff and Defendants submit

the following joint status report.

       On June 11, 2021, Defendants filed a petition for a writ of certiorari in the Supreme

Court seeking review of the D.C. Circuit’s decision that the House of Representatives has

standing to bring its claim that the Executive Branch violated the Appropriations Clause by

spending funds in excess of congressional authorization. See United States House of

Representatives v. Mnuchin, 976 F.3d 1 (D.C. Cir. 2020).

       On October 12, 2021, the Supreme Court granted Defendants’ petition and vacated the

D.C. Circuit’s judgment. See Yellen v. House of Representatives, 2021 WL 4733282 (U.S. Oct.

12, 2021). The Supreme Court ordered that the “case is remanded to the United States Court of

Appeals for the District of Columbia Circuit with instructions to dismiss the case as moot.” Id.

       In light of the Supreme Court’s order, the parties agree that there is no need for further

proceedings in this Court. The parties further agree the Court may close this case following

entry of the D.C. Circuit’s dismissal order.

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Dated: October 26, 2021                          Respectfully submitted,


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